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ease 2:10-mj-02613-Dd:y Document 2 Filed 10/21/10 Pagé 1 oH Page lD #:2

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UNITEI) sTATEs DISTRICT coUliT Z' AH 59= |D

CENTRAL DISTRICT OF CALIFORNIA _‘, n l ;;:-3 3 l' t J g COUDT
LUS x HIFLE (AUF

UNITED STATES OF AMERICA, ~ CASE NUMBER-
- PLAINTlFF t s v 4
v. I@ M]/[a

" x w ‘ ~. REPoRT CoMMENCING CRIMINAL
600 (7”/\ 'M…M`Mn . ACTION

DEFEN DANT(S).

 

 

TO: CLERK’S OFFICE, U. S. DISTRICT COURT

All items are to be completed lnfonnation not applicable or unknown will be indicated as “N/A”.
' ` `”L / ,En(
l. Date and time ofarrest: /7‘3 l 0 /'Di 5 w . M/ l:l PM
2. Defendant is in lock-up (in this court building) Yes No l:|
3. Charges under which defendant has been booked: /
` \“3 l/>C loléz£i<l wm cwa
U -“ ' ‘
Offense charged is a: mm l:l Minor Offense El Petty Offense l:l Other Misderneanor
U.S. Citizen: L__I Yes E¢}<o/ |:l Unlcnown
Interpreter Required: ¢D/No/`w EI Yes: ` (La_nguage)

Year of Birth: § 1(9°`

The defendant is: I;|/Pfe`sently in custody on this charge
l:| Federal -,In custody on another conviction
|:l State - In custody awaiting trial on these charges.

.°°.\'.O\$":'>

9. - Place of detention (if out-of-distn`ct):

 

 

lO. Date detainer placed on defendant

 

l l. This is a reprosecution of previously dismissed charges (Docket/Case No. )

12. Does e defendant have retained counsel ? [J No l
|ZY/esth Name: gay ©C M¢\G(-Q§\l/A V\ and Phone Number: Ng'z/? 8'7 l 5 q
13. Did yO otify Pretrial Services? |:l No \/\§L'€S\‘ qv\
{yes:lease list Officer’s Name: .D\/\\\/\\ Time: Cx: 3 0 . M

14. Remarks (if any):

 

 

 

 

 

 

15. Date: l 9 //I/i /IO 16. Name: \ cbW(\ CLI' V y (Plcasc Print)
17. Agency: {\6@ { 18. Signature: l//?A
4 19. Office Phone Number: ' §§ 0’/('{7_2'“'¢>§§25 /

 

CR-64 (0'6/09} ' l REPORT COMMENC!NG CRIMINAL ACTION

